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                   UNITED STATES COURT OF APPEALS
                                                                     FILED
                             FOR THE NINTH CIRCUIT
                                                                    NOV 22 2016
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 VOTING RIGHTS DEFENSE                         No. 16-16717
 PROJECT and AMERICAN
 INDEPENDENT PARTY,
                                               D.C. No. 3:16-cv-02739-WHA
               Plaintiffs - Appellants,        U.S. District Court for Northern
                                               California, San Francisco
  and
                                               ORDER
 CLARA DAIMS and SUZANNE
 BUSHNELL,

               Plaintiffs,

   v.

 ALEX PADILLA, in his official
 capacity as Secretary of State; et al.,

               Defendants - Appellees.


        This case is NOT SELECTED for inclusion in the Mediation Program.

        Counsel may contact Roxane Ashe, Circuit Mediator, at 415-355-7911 or

roxane_ashe@ca9.uscourts.gov to discuss services available through the court's

mediation program, to request a settlement assessment conference, or to request a

stay of the appeal for settlement purposes. Also, upon agreement of the parties, the

briefing schedule can be modified or vacated to facilitate settlement discussions.
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      Counsel are requested to send copies of this order to their clients.

Information regarding the mediation program may be found at

www.ca9.uscourts.gov/mediation.

                                                 FOR THE COURT:

                                                 Virna Sanchez
vs/mediation                                     Deputy Clerk
